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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.

              Defendants.
                                                  /

UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 11-20066


JEFF GARVIN SMITH et al.,

              Defendants.
                                                  /

      ORDER ADJOURNING TRIAL AND SETTING ADDITIONAL DEADLINES

       Over the past several weeks, the court has conducted a series of off-the-record

status conferences addressing the timing of the upcoming trial for Trial Group 1

Defendants in the above-captioned cases. Specifically, counsel for the Government, as

well as counsel for every Defendant in Trial Group 1, have indicated that additional time

is needed to adequately prepare for trial, primarily due to the logistics of the

Government’s turning over of additional discovery and Jencks Act materials. While the

majority of defense counsel requested six to eight weeks of additional time, through the

diligence of all attorneys in coordinating and facilitating efficient discovery procedures,

the parties are now in a position to be ready for trial after only a four-week delay. On
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July 9, 2014, the court conducted a final status conference to discuss the steps needed

to meet a September trial date. The Government agreed, with the help of the discovery

coordinator Emma Greenwood, to distribute Jencks Act materials, as well as additional

discovery material, on iPads by August 29, 2014.1 This will allow Defendants

approximately four weeks to review the additional material on the iPads to assist in their

defense. Accordingly,

           IT IS ORDERED that trial for Trial Group 1 Defendants is ADJOURNED. Jury

selection will commence on September 29, 2014 at 9:00 a.m.

           IT IS FURTHER ORDERED that, in light of the briefing extensions granted to the

parties, the motion hearing scheduled for July 16, 2014 is ADJOURNED until August 5,

2014 at 2:00 p.m.




                                                                    s/Robert H. Cleland
                                                                    ROBERT H. CLELAND
                                                                    UNITED STATES DISTRICT JUDGE
Dated: July 10, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 10, 2014, by electronic and/or ordinary mail.

                                                                    s/Lisa Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522




           1
        Much of this material has already been provided to defense counsel on
electronic format, subject to the terms of the protective order. Defense counsel are
currently in negotiations with the Government to modify the protective order to allow the
individual Defendants to review portions of the material, with counsel, in advance of
receiving the updated iPads. The court leaves these negotiations to the parties.
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